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January 27, 2020

Hon. Andrew T. Baxter
United States Magistrate Judge
United States District Court
Northern District of New York
Federal Building and U.S. Courthouse
P.O. Box 7396
Syracuse, NY 13261-7396

       Re: Burinska v. SUNY, et al.
           19-CV-564 (USDC) (NDNY)
           (MAD) (ATB)

Dear Judge Baxter:

        I am writing to respectfully request a short extension of the amendment and joinder
deadline from Friday, January 31st, to Monday, February 3rd. I have been unexpectedly called
out of town at the end of this week to attend a necessary personal matter, and it would be difficult
to complete the amendments/joinder of the complaint and discuss with my client by January 31st.
Counsel for the State defendants, AAG Shannan C. Krasnokutski, has consented to the requested
extension.

       Thank you for your consideration.

                                                                     Very truly yours,

                                                                     Jeffrey P. Mans
                                                                     Jeffrey P. Mans




cc: Shannan C. Krasnokutski, AAG (via ECF)
